                   UNITED STATES BANKRUPTCY COURT FOR THE
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

  In re:
                                                          Chapter 11

  Squirrels Research Labs LLC, et al.                     Case No. 21-61491

                                                          (Jointly Administered)
                                Debtors.
                                                          Judge Tiiara N.A. Patton


                                CORRECTED
                           NOTICE OF HEARING FOR
                 MOTION OF SQUIRRELS RESEARCH LABS LLC AND
               THE MIDWEST DATA COMPANY LLC FOR ENTRY OF AN
                ORDER APPROVING COMPROMISE AND SETTLEMENT
                    WITH CINCINNATI INSURANCE COMPANY

            PLEASE TAKE NOTICE that on April 9, 2024, Debtors filed the MOTION
 OF SQUIRRELS RESEARCH LABS LLC AND THE MIDWEST DATA COMPANY LLC
 FOR ENTRY OF AN ORDER APPROVING COMPROMISE AND SETTLEMENT WITH
 CINCINNATI INSURANCE COMPANY (Docket No. 323) (the “Motion”).

               Your rights may be affected. You should read these papers carefully and
 discuss them with your attorney, if you have one. If you do not have an attorney, you may
 wish to consult one.

                If you do not want the Court to grant the Motion, or if you want the Court to
 consider your views on the Motion at a hearing, then on or before MAY 1, 2024, you or your
 attorney must:

                File with the Court an objection/response at:

                U.S. Bankruptcy Court
                Ralph Regula Federal Building and U.S. Courthouse
                401 McKinley Avenue, SW
                Canton, Ohio 44702

 If you mail your objection/response to the Court, you must mail it early enough so the Court will
 receive it on or before the date stated above.




21-61491-tnap     Doc 326     FILED 04/10/24       ENTERED 04/10/24 15:12:59         Page 1 of 12
                Mail a copy of your response to:

                               Julie K. Zurn
                               Brouse McDowell LPA
                               388 S. Main Street, Suite 500
                               Akron, Ohio 44311
                               Counsel for Debtors

                Please take further notice that a hearing on the Motion will be held on May 21,
 2024 at 11:00 a.m. prevailing Eastern Time (the “Hearing”), or as soon as thereafter as this matter
 may be heard, before the Honorable Tiiara N.A. Patton. The Hearing will be conducted both (i) in
 person at the Ralph Regula Federal Building and U.S. Courthouse, 401 McKinley Avenue, SW,
 Canton, Ohio 44702, and (ii) via the Zoom® Video Communications application (“Zoom”).
 Unless otherwise ordered by the Court, any party who will not be presenting evidence or argument
 may request to appear virtually via Zoom. Parties must pre-register by emailing Evelyn Ross,
 Judge Patton’s Courtroom Deputy, at PattonZoom_Registration@ohnb.uscourts.gov by no later than
 4:00 p.m. three (3) business days prior to the scheduled hearing. The hearing registration email
 must include the following information: (a) case name and case number; (b) hearing date and
 time(s); (c) participant’s name, address, and telephone number; and (d) name of party/parties
 whom participant represents.

                All participants appearing by Zoom shall comply with Judge Patton’s Procedures
 for Appearing via Zoom® Video Communications (Effective August 21, 2023), which can be found
 on the Court’s website. Persons without video conferencing capabilities must immediately contact
 Evelyn Ross, Judge Patton’s Courtroom Deputy, at (330) 742-0950 to make alternative
 arrangements. Absent emergency circumstances, such arrangements must be made no later than
 three (3) business days prior to the scheduled hearing date. The hearing may be continued from
 time to time until completed without further notice except as announced in open court.

 Dated: April 10, 2024                        /s/ Julie K. Zurn
                                              Julie K. Zurn (0066391)
                                              Brouse McDowell LPA
                                              388 S. Main Street, Suite 500
                                              Akron, Ohio 44311
                                              330-535-5711
                                              Counsel for Squirrels Research Labs LLC
                                              and The Midwest Data Company LLC




                                                   2


21-61491-tnap     Doc 326     FILED 04/10/24           ENTERED 04/10/24 15:12:59       Page 2 of 12
                                  CERTIFICATE OF SERVICE

        I hereby certify that on April 10, 2024, a true and correct copy of the CORRECTED

 NOTICE OF HEARING FOR MOTION OF SQUIRRELS RESEARCH LABS LLC AND

 THE MIDWEST DATA COMPANY LLC FOR ENTRY OF AN ORDER APPROVING

 COMPROMISE AND SETTLEMENT WITH CINCINNATI INSURANCE COMPANY,

 was served via the court’s Electronic Case Filing System on these entities and individuals who

 are listed on the court’s Electronic Mail Notice List:


        John C. Cannizzaro on behalf of Interested Party Instantiation LLC at
        John.Cannizzaro@icemiller.com, Kelli.Bates@icemiller.com

        Nicholas Paul Capotosto on behalf of Debtor Squirrels Research Labs LLC at
        ncapotosto@brouse.com, tpalcic@brouse.com

        Christopher Paul Combest on behalf of Creditor Avnet, Inc. at christopher.combest@quarles.com

        Jack B. Cooper on behalf of Defendant Squirrels LLC at jcooper@milliganpusateri.com

        Jack B. Cooper on behalf of Defendant Andrew Gould at jcooper@milliganpusateri.com

        Jack B. Cooper on behalf of Defendant David Stanfill at jcooper@milliganpusateri.com

        Jack B. Cooper on behalf of Defendant Jessica Gritzan at jcooper@milliganpusateri.com

        Jack B. Cooper on behalf of Defendant Kyle Slutz at jcooper@milliganpusateri.com

        Jack B. Cooper on behalf of Defendant Sidney Keith at jcooper@milliganpusateri.com

        John G. Farnan on behalf of Creditor Cincinnati Insurance Company at
        jfarnan@westonhurd.com

        Robert E. Goff, Jr. on behalf of Creditor Cincinnati Insurance Company at
        rgoff@westonhurd.com, cvadino@westonhurd.com

        Steven Heimberger on behalf of Interested Party SCEB, LLC at
        sheimberger@rlbllp.com, HeimbergerSR82735@notify.bestcase.com

        Jeannie Kim on behalf of Interested Party Instantiation LLC at
        JeKim@sheppardmullin.com, dgatmen@sheppardmullin.com

                                                   3


21-61491-tnap     Doc 326      FILED 04/10/24          ENTERED 04/10/24 15:12:59           Page 3 of 12
       Marc Merklin on behalf of Debtor Squirrels Research Labs LLC at
       mmerklin@brouse.com, tpalcic@brouse.com;mmiller@brouse.com

       Marc Merklin on behalf of Plaintiff Squirrels Research Labs LLC at
       mmerklin@brouse.com, tpalcic@brouse.com;mmiller@brouse.com

       David M. Neumann on behalf of Creditor Envista Forensics, LLC d/b/a AREPA at
       dneumann@meyersroman.com, docket@meyersroman.com; mnowak@meyersroman.com

       David M. Neumann on behalf of Creditor Torea Consulting Ltd. at
       dneumann@meyersroman.com, docket@meyersroman.com; mnowak@meyersroman.com

       Christopher Niekamp on behalf of Creditor Better PC, LLC at cniekamp@bdblaw.com

       Matthew T. Schaeffer on behalf of Creditor Fleur-de-Lis Development, LLC at
       mschaeffer@baileycav.com, lpatterson@baileycav.com

       Matthew T. Schaeffer on behalf of Defendant Fleur-de-Lis Development, LLC at
       mschaeffer@baileycav.com, lpatterson@baileycav.com

       Matthew T. Schaeffer on behalf of Defendant Cynthia Heinz at
       mschaeffer@baileycav.com, lpatterson@baileycav.com

       Matthew T. Schaeffer on behalf of Defendant Rocco Piacentino at
       mschaeffer@baileycav.com, lpatterson@baileycav.com

       Paul J. Schumacher on behalf of Interested Party Ohio Power Company dba American Electric
       Power at pschumacher@dmclaw.com, tgross@dmclaw.com

       Frederic P. Schwieg at fschwieg@schwieglaw.com, OH84@ecfcbis.com

       Frederic P. Schwieg on behalf of Plaintiff Frederic P Schwieg at fschwieg@schwieglaw.com,
       OH84@ecfcbis.com

       Frederic P. Schwieg on behalf of Trustee Frederic P. Schwieg at fschwieg@schwieglaw.com

       Frederic P. Schwieg on behalf of Trustee Frederic P. Schwieg at fschwieg@schwieglaw.com,
       OH84@ecfcbis.com

       Bryan Sisto on behalf of Creditor Carl Forsell at bsisto@fbtlaw.com

       Richard J. Thomas on behalf of Creditor Premier Bank at rthomas@hendersoncovington.com,
       dciambotti@hendersoncovington.com

       Joshua Ryan Vaughan on behalf of Creditor Ohio Bureau of Workers Compensation at
       jvaughan@amer-collect.com, SAllman@AMER-COLLECT.COM;HouliECF@aol.com

                                                  4


21-61491-tnap    Doc 326      FILED 04/10/24          ENTERED 04/10/24 15:12:59        Page 4 of 12
            Julie K. Zurn on behalf of Debtor Squirrels Research Labs LLC at
            jzurn@brouse.com, tpalcic@brouse.com;ckeblesh@brouse.com

            Julie K. Zurn on behalf of Debtor The Midwest Data Company LLC at
            jzurn@brouse.com, tpalcic@brouse.com;ckeblesh@brouse.com

            Julie K. Zurn on behalf of Plaintiff Squirrels Research Labs LLC at
            jzurn@brouse.com, tpalcic@brouse.com;ckeblesh@brouse.com

            Kate M. Bradley ust44 on behalf of U.S. Trustee United States Trustee at
            kate.m.bradley@usdoj.gov

            And by regular U.S. Mail, postage prepaid, on the following:


Ohio Power Co. d/b/a AEP Ohio            Andrew Waters                             Bittware/Molex LLC
Attn: Dwight Snowden                     6653 Main Street                          Attn: Tricia McCoy
1 Riverside Plaza, 13th Floor            Williamsville, NY 14221                   2222 Wellington Ct
Columbus, OH 43215                       UNDELIVERABLE                             Lisle, IL 60532

                                                                                   Donald Ruffatto
CliftonLarsonAllen LLP                   CT Data LLC
                                                                                   420 Fairview Ave, Apt. 107
220 S. 6th Street, Suite 300             133 River Road
                                                                                   Arcadia, CA 91007
Minneapolis MN 55402-1436                Mystic, CT 06355
                                                                                   UNDELIVERABLE

Everhart Glass Co., Inc.
                                                                                   FedEx Corporate Services Inc.
Attn: Linda Monigold                     Everstream
                                                                                   3965 Airways Blvd., Module G, 3rd
207 Ninth St., SW                        1228 Euclid Ave #250
                                                                                   FL
PO Box 20645                             Cleveland, OH 44115
                                                                                   Memphis, TN 38116-5017
Canton, OH 44701

Hailu Looyestein                                                                   Internal Revenue Service
                                         Internal Revenue Service
Schout Coxstraat 1                                                                 Insolvency Group 6
                                         PO Box 7346
5421GJ Gemert                                                                      1240 E. Ninth Street, Room 493
                                         Philadelphia, PA 19101-7346
NETHERLANDS                                                                        Cleveland, OH 44199

IPS Assembly Corp.
                                         Jason Price                               Jose A. Rubio
Attn: Perry Sutariya
                                         67 Bartram Trail                          15925 Hopper Lane
12077 Merriman Rd
                                         Brunswick, GA 31523                       San Diego, CA 92127
Livonia, MI 48150

Mark D'Aria                              Metal Masters                             David Chase, et al.
165 Old Field Rd.                        Attn: Bret Kettlewell                     c/o Michael Maranda
Setauket, NY 11733-1639                  125 Williams Dr                           293 Durkee Lane
                                         Dover, OH 44622                           East Patchogue, NY 11772




                                                       5


  21-61491-tnap        Doc 326     FILED 04/10/24          ENTERED 04/10/24 15:12:59          Page 5 of 12
Office of the U.S. Trustee
                                       Office of U.S. Attorney            Ohio Attorney General
201 Superior Ave. East, Suite
                                       Attn: Bankruptcy Section           Collections Enforcement Section
441
                                       Carl B. Stokes U.S. Court House    Attn: Bankruptcy Unit
H.M. Metzenbaum US
                                       801 W. Superior Avenue, Ste 400    30 E. Broad Street, 14th Floor
Courthouse
                                       Cleveland, OH 44113                Columbus, OH 43215
Cleveland, OH 44114-1234
Ohio Bureau of Workers'                Ohio Department of Job & Family
Compensation                                                              Ohio Department of Taxation
                                       Svcs
Attn: Law Section Bankruptcy                                              Attn: Bankruptcy Division
                                       Attn: Legal Support-Bankruptcy
Unit                                                                      PO Box 530
                                       PO Box 182830
PO Box 15567                                                              Columbus, OH 43216-0530
                                       Columbus, OH 43218-2830
Columbus OH 43215-0567
Phillippe Germain                      Sam Adams                          Samtec
102 W. Service Rd #2153466             3417 Bush Street                   520 Park E. Blvd.
Champlain, NY 12919                    Stevens Point, WI 54481            New Albany, IN 47150


Steven Turnshek
                                       Trevor Steinle                     William Paden
13 Krist Glen Dr
                                       24106 SE 42nd St                   205 Plains Rd
Swissvale, PA 15218
                                       Sammamish, WA 98029                Westford, VT 05494
UNDELIVERABLE

                                       Instantiation LLC
Michael Maranda LLC
                                       c/o Jason R. Schendel              Internal Revenue Service
c/o Kara Dodson, Esq., Soles Law
                                       Sheppard, Mullin, Richter &        Attn: Deputy Director
Offices
                                       Hampton LLP                        1240 E. Ninth Street
6545 Market Avenue, N
                                       4 Embarcadero Center, 17th Flr     Cleveland, OH 44199
N. Canton, OH 44721
                                       San Francisco, CA 94111


Michael Maranda                        A.G. Adjustments, Ltd.             Aaron Holquin
293 Durkee Lane                        740 Walt Whitman Rd                2046 Jamison Pl
East Patchogue, NY 11772               Melville, NY 11747                 Santa Clara, CA 95051


TTI, Inc. c/o Commercial               Alton Hare
                                                                          Amanda McConnell
Collections Consultants                1200 17th St NW
                                                                          191 E. 28th Street
16830 Ventura Blvd., Suite 620         Washington, DC 20036
                                                                          Dover, OH 44622
Encino, CA 91436-9143                  UNDELIVERABLE


Aaron Reimer
                                       Ben George                         Bradley Conn
PMB-AR113422
                                       5464 Lake Ave                      51 Maple Avenue
Sumas, WA 98295-9674
                                       Orchard Park, NY 14127             Locust Valley, NY 11560
UNDELIVERABLE




                                                    6


  21-61491-tnap       Doc 326      FILED 04/10/24       ENTERED 04/10/24 15:12:59    Page 6 of 12
                                                                         Brett Mashford
                                      Brandon Osbourne
Andrew Gould                                                             35 Oakmoss Dr
                                      1614 Euclid Ave., Apt. 36
4812 Wildflower Drive                                                    SPRINGFIELD LAKES, QLD
                                      Miami Beach, FL 33139-7783
North Canton, OH 44720                                                   4300
                                      UNDELIVERABLE
                                                                         AUSTRALIA
                                                                         Carl Forsell
Bradon Pen
                                      Brian Klinger                      c/o James E.P. Sisto
56 Varcoe Rd
                                      4018 Shelby Row                    Schuerger Law Group
Courtice, ON L1E 1S5
                                      Sugar Land, TX 77479               1001 Kingsmill Parkway
CANADA
                                                                         Columbus, OH 43229


Brian Fiducci                         Cincinnati Insurance               Cincinnati Insurance
24463 Norelius Ave                    PO Box 145496                      6200 S. Gilmore Rd
Round Lake, IL 60073                  Cincinnati, OH 45250-5496          Fairfield, OH 45014-5141


                                                                         Daniel Hajdu
Chad Clark                            Culligan of Canton
                                                                         Graslaan 111
876 Jefferson St                      4810 Southway St., SW
                                                                         6833CG Arnhem
Menasha, WI 54952                     Canton, OH 44706
                                                                         NETHERLANDS

Clarence Smith
                                                                         Darry Kurpisz
3290 Double Creek Dr N., Apt          Darien Lyons
                                                                         14635 22nd Ave SW
301                                   123 James Ter.
                                                                         Burien, WA 98166
Plainfield, IN 46168                  Rahway, NJ 07065-2409

                                                                         Dustin Hooper
Daniel Russo                          David Stanfill
                                                                         20063 W. Jackson St.
120 High Farms Rd                     772 Treat Blvd.
                                                                         Buckeye, AZ 85326-2777
Glen Head, NY 11545                   Tallmadge, OH 44278



David Reynolds                        Fernando Molina                    George D. Jimenez
6046 Jerusalem Drive                  5275 SW 146 AVE                    9396 Broadland Street, NW
Cicero, NY 13039                      Miami, FL 33175                    Massillon, OH 44646


Fabrizio Simonetti                                                       GS1 US, Inc.
                                      GS 8100, LLC
8 Via Sant’ Jacopo in Acquaviva                                          300 Princeton South Corporate
                                      6610 Chatsworth Street, NW
Livorno, LI 57127                                                        Center
                                      Canton, OH 44718
ITALY                                                                    Ewing Township, NJ 08628


                                                                         Horizon Supply Group
Gilbert Rodriguez                     Henry Ryan
                                                                         Attn: Jeff Habbyshaw
PO Box 1535                           228 Cranbury Road
                                                                         3691 Honors Way
Fabens, TX 79838-1535                 Princeton Junction, NJ 08550
                                                                         Howell, MI 48843


                                                   7


  21-61491-tnap        Doc 326    FILED 04/10/24       ENTERED 04/10/24 15:12:59    Page 7 of 12
Heather Bradley                        Israel Garcia                       James Holodnak
1213 N. Chapel Street                  615 Oak Hollow Dr                   2910 16th Street, NW
Louisville, OH 44641                   Newberg, OR 97132                   Canton, OH 44708


Isaac Gabriel                          Jean Viljoen
Quarles and Brady                      5 Cape Willow                       Jeffrey Cordell
One Renissaince Sq                     Hermanus, Western Cape              17517 NW Ashland Drive
Two North Central Ave                  7200                                Portland, OR 97229
Phoenix, AZ 85004                      SOUTH AFRICA


JC Pack                                Joaquim Ginesta                     Jonathan Hulecki
199 Virginia Ave., #292                Emili Grahit 6, 4r 1r               4568 Church Point Place
San Ysidro, CA 92173-2717              17002 GIRONA, SPAIN                 Virginia Beach, VA 23455



Jessica Gritzan                        Josh Luoni                          Joshua Harris
1280 Linwood Ave SW                    808 8th St                          209 N. Horner Blvd.
North Canton, OH 44720                 Fairmont, WV 26554                  Sanford, NC 27330


Jordan Kupersmith
                                       Kimble Companies                    Kyle Slutz
888 N. Quincy St
                                       3596 SR 39 NW                       1116 W. Nimisila Road
Arlington, VA 22203
                                       Dover, OH 44622                     Clinton, OH 44216
UNDELIVERABLE


                                       Luco Gilardi
JPMorgan Chase Bank                                                        Mario Fortier
                                       Ul. Slivnitsa 188
1111 Polaris Pkwy                                                          10 Orchard Lane
                                       Sofia 1202
Columbus, OH 43240                                                         Chelmsford, MA 01824
                                       BULGARIA


Kyle Tricarico                         Mark Veon                           Michael Dai
5464 Lake Ave                          2547 S. 3rd Street                  43174 Christy Street
Orchard Park, NY 14127                 Milwaukee, WI 53207                 Fremont, CA 94538

Marius Nastasenko
Taikos g. 148                          Michael Riley                       Michael Robinson
Vilnius, Vilniaus Apskritis 5227       2506 SW 23rd Cranbrook Dr           103 Hunters Ct
LITHUANIA                              Boynton Beach, FL 33436             Forest, VA 24551
UNDELIVERABLE
                                                                           Mohamed Kazem
Michael Rampton                        Miguel Chacon                       27 Orwell Street
6222 12th Street, North                120 NW 6th Ave                      Potts Point
Arlington, VA 22205                    Miami, FL 33128                     SYDNEY, NSW 2011
                                                                           AUSTRALIA
                                                                           UNDELIVERABLE

                                                     8


  21-61491-tnap         Doc 326    FILED 04/10/24        ENTERED 04/10/24 15:12:59    Page 8 of 12
Naoaki Kita
                                                                        Nicolas Rochon
Kigoshimachi                        Nick Yarosz
                                                                        4278 Beausoleil
Kanazawa-shi                        3019 Ellington Dr
                                                                        Terrebonne QC J6V 1G1
Ishikawaken 920-0203                Summerville, SC 29485
                                                                        CANADA
JAPAN UNDELIVERABLE
NJEB Partners
c/o Melissa Giberson, Vorys,        One Haines Company, LLC             One Skymax Company, LLC
Sater, Seymour & Pease LLP          6610 Chatsworth Street, NW          6610 Chatsworth Street, NW
52 East Gay St.                     Canton, OH 44718                    Canton, OH 44718
Columbus, OH 43215 10001

                                                                        Christophe Touzet
Pat Clay                            Patrick Nadeau
                                                                        32 Rouillon
72 Baker Dr                         311 Andrews Rd
                                                                        Saint Germain En Cogles 35133
Gansevoort, NY 12831                Wolcott, CT 06716
                                                                        FRANCE

Peter Ensor                         Premier Bank
                                                                        R. Scott Heasley
Powerstown House                    c/o Atty. Richard Thomas
                                                                        Meyers, Roman, Friedberg & Lewis
Clonee, Dublin                      6 Federal Plaza Central, Suite
                                                                        28601 Chagrin Blvd., Suite 600
D15 YH52                            1300
                                                                        Cleveland, OH 44122
IRELAND                             Youngstown, OH 44503
Rajesh Bhakar
Sector 9d/204, 2nd Flr Akarti       Raymond Wodarczyk
                                                                        Richard Bergstrom
Apartment                           KinzigstraâˆšÃ¼e 28
                                                                        30107 Mountain View Dr
Jaipur                              10247 Berlin GERMANY
                                                                        Hayward, CA 94544
Rajasthan 302021                    UNDELIVERABLE
INDIA
                                    Robin Wolf
Richard Weeks                       Fasangasse 49                       Seth Stanfill
4199 Defoors Farm Dr                Vienna. Wien 1030 AUSTRIA           1515 24th Street, NW
Powder Springs, GA 30127            UNDELIVERABLE                       Canton, OH 44709


                                    Scott Chen
Ryan Marfone                                                            Thom Kuznia
                                    4058 Case St
98 N. Hawkhurst Cir                                                     5801 Drew Ave. S
                                    Elmhurst, NY 11373
The Woodlands, TX 77354                                                 Edina, MN 55410-2761
                                    UNDELIVERABLE

                                                                        TorEA Consulting
                                    Stefano Chiesa                      c/o David M. Neumann
Squirrels LLC
                                    41, Via III Novembre                Meyers Roman Friedberg & Lewis
121 Wilbur Drive NE
                                    Fucine Tn 38026                     LPA
North Canton, OH 44720
                                    ITALY                               28601 Chagrin Blvd., Suite 600
                                                                        Cl l d OH 44122
Tim Bredemus                                                            U.S. Small Business Administration
                                    Tommy DeFreitas
9757 Union Terrace Ln N                                                 District Counsel
                                    14114 N. Wind Cave Ct
Maple Grove, MN 55369                                                   1350 Euclid Ave, Suite 211
                                    Conroe, TX 77384
UNDELIVERABLE                                                           Cleveland, OH 44115


                                                  9


  21-61491-tnap       Doc 326   FILED 04/10/24        ENTERED 04/10/24 15:12:59    Page 9 of 12
Tri Ho                             Troy Keplinger                    Robert Renna
1180 N. Cherry Way                 1730 E. Park St                   48 Samantha Dr
Anaheim, CA 92801                  Enid, OK 73701                    Morganville, NJ 07751-4006


                                                                     Richard Hall
Uline                              Marco Mendoza
                                                                     61 Falkirk Avenue
12575 Uline Dr                     29407 Pyrite St
                                                                     Wellington, WGN 6022
Pleasant Prairie, WI 53138         Menifee, CA 92584
                                                                     NEW ZEALAND


Welbour Espartero
                                   Aditya Chauhan                    Andrew Wolf
46 6th Ave NE
                                   510 Roosevelt St.                 1960 SW Old Sheridan Rd
Swift Current, SK S9H 2L7
                                   Roselle Park, NJ 07204-1512       McMinnville, OR 97128-8686
CANADA


                                   Aaron Strating                    Richard Ramazinski
Robert Oxsen
                                   411B Vancouver St                 1000 Flower Drive, STE LKS 2035
12795 Lowhills Rd
                                   Victoria, BC V8v 3t4              Glendale, CA 91201
Nevada City, CA 95959-9074
                                   CANADA

                                   Fabian Delmotte                   Matthew Peterson
Arran Gracie
                                   Rue de Favence 29                 3390 Stratford Rd NE
221 Southwest Alder Street
                                   Nandrin, -- 4550                  Unit 516
Portland, OR 97204
                                   BELGUIM                           Atlanta, GA 30326
UNDELIVERABLE
                                   UNDELIVERABLE                     UNDELIVERABLE


James Soldi                        Barry Gluntz                      Jack Cooper
2208B Clark Ln                     2350 Winfield Ave                 4684 Douglas Circle NW
Redondo Beach, CA 90278-4304       Rocky River, OH 44116             Canton, OH 44735


                                                                     Pascal Peters
Lance Colton                       David Burlington
                                                                     P.H.J.J. Peters Holding B.V.
301-10140 150 St NW                38 Bryant St APT 804
                                                                     Parklaan 6
Edmonton, AB T5P 1P1               San Francisco, CA 94105-6119
                                                                     Oss, Noord Brabant 5345 BV
CANADA                             UNDELIVERABLE
                                                                     NETHERLANDS
                                   Matteo Trinca
                                   Lania Geo Ltd.
Jason Palmer                                                         Dean Givens
                                   10 Zahesi Territory Svimon
6559 Argonne Blvd.                                                   170 Glad Spring Dr.
                                   Shotadze Tbilisi, T’bilisi 0178
New Orleans, LA 70124                                                Lexington, SC 29072
                                   GEORGIA
                                   UNDELIVERABLE




                                                 10


 21-61491-tnap       Doc 326   FILED 04/10/24     ENTERED 04/10/24 15:12:59    Page 10 of 12
Haley Williams
                                    Bill Gallagher                   Everett Fominyen
518 Washington St.
                                    591 Lantern Way                  6733 N. 105th Ave.
Santa Cruz, CA 95060
                                    Aurora, OH 44202                 Omaha, NE 68122
UNDELIVERABLE


Jeffrey Willis                      Enrique Espinosa                 Jason Rettburg
987 S. High Street                  4009 Old Bridgeview Ln           670 Robinhood Dr.
Columbus, OH 43206                  Charleston, SC 29403             Aurora, OH 44202



Tim Robinson                        Gail O’Connell                   Sidney Keith
2376 Burg Street                    8960 Ringview Dr.                8127 Larkspur Ave NW
Granville, OH 43023                 Mechanicsville, VA 23116         North Canton, OH 44720

                                                                     Envista Forensics LLC, dba
Elloit Boutin                                                        AREPA
                                    Justin O’Connell
9400 E. Lincoln Street                                               c/o David M. Neumann
                                    15712 Whirland Dr.
Apartments, Unit 409                                                 Meyers Roman Friedberg & Lewis
                                    Midlothian, VA 23112
Wichita, Kansas 67207                                                LPA
                                                                     28601 Chagrin Blvd Suite 600

Gabriel and Andrew Boutin           Tulip                            Gregory Almedia
48 Cascade St.                      5464 Lake Ave                    240 Old Foamy Rd.
Essex Junction, VT 05452-0545       Orchard Park, NY 14127           Cleburne, TX 76033


                                                                     Squirrels 401(k) & Profit-Sharing
Jon Bulger                          William Sweeney                  Plan
5169 Freeman Rd.                    10 Westedge St., Unit 725        c/o Plan Sponsor, Squirrels, LLC
Orchard Park, NY 14127              Charleston, SC 29403             121 Wilbur Drive, NE
                                                                     North Canton, OH 44720

                                                                     SCEB LLC
Stephen Allison                     ProTech Security
                                                                     Attn: Stephen Allison
18 Monument Dr.                     PO Box 35034
                                                                     18 Monument Dr.
Stafford, VA 22554                  Canton, OH 44735
                                                                     Stafford, VA 22554

                                    Avnet Inc.
Avnet Inc.
                                    c/o Michael Walker, General      Avnet Inc.
Attn: Dennis Losik
                                    Counsel                          5400 Prairie Stone Pkwy
5400 Prairie Stone Pkwy
                                    2211 S. 47th Street              Hoffman Estates, IL 60192
Hoffman Estates, IL 60192
                                    Phoenix, AZ 85034

                                                                     Instantiation, LLC
Jeff Schugart                       SF Mining LLC
                                                                     Attn: Sam Cassatt
13918 Bond Street                   12795 Lowhills Rd.
                                                                     434 Dorado Beach E
Overland Park, KS 66221             Nevada City, CA 95959
                                                                     Dorado, PUERTA RICO 00646


                                                 11


 21-61491-tnap        Doc 326   FILED 04/10/24    ENTERED 04/10/24 15:12:59     Page 11 of 12
                                      JS Mining
Alignment Engine, Inc
                                      c/o Jeff Schugart
8050 Freedom Ave NW, Unit B
                                      13918 Bond Street
North Canton, Ohio 44720
                                      Overland Park, Kansas 66221


       And the following by email:


            Artem Pylypchuk at articicejuice@gmail.com
            Jose Nunez at admin@croxmoon.com
            Michael Erceg at michael.erceg@gmail.com
            Spencer Gabriel Singh at spencersingh96@gmail.com
            Todd Dallimore at tdallimore@start.ca
            Yannick Vergult at yannick.vergult@gmail.com
            Henrik Gustafsson at henrik@virtualduck.net
            Ruben Sousa at sousa.ruben2@gmail.com
            Robin Wolf at robin.90@hotmail.de
            Donald Ruffatto at Druffato@gmail.com
            Jordan Kupersmith at jordankupersmith@gmail.com
            Scott Chen at madam.ng16@gmail.com
            Mohamed Kazem at nabilkazem@mail.com
            Tim Bredemus at tcbred@gmail.com
            David Burlington at dburlington@yahoo.com




                                                               /s/ Julie K. Zurn
                                                               Julie K. Zurn (0066391)
                                                               Counsel for Squirrels Research Labs LLC
                                                               and Midwest Data Company LLC




                                                          12


     21-61491-tnap      Doc 326      FILED 04/10/24        ENTERED 04/10/24 15:12:59        Page 12 of 12
